          Case 3:22-cr-00426-CRB Document 3-2 Filed 11/09/22 Page 1 of 1FILED

                                                                                             Nov 09 2022

                                                                                           Mark B. Busby
                                                                                     CLERK, U.S. DISTRICT COURT
                       UNITED STATES DISTRICT COURT                               NORTHERN DISTRICT OF CALIFORNIA
                       NORTHERN DISTRICT OF CALIFORNIA                                    SAN FRANCISCO



                             CRIMINAL COVER SHEET
Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.


 CASE NAME:                                                CASE NUMBER:
 USA V.    DAVID DEPAPE                                             CR 22-426CRB

 Is This Case Under Seal?                       Yes       No ✔

 Total Number of Defendants:                       1 ✔ 2-7            8 or more

 Does this case involve ONLY charges
                                                Yes       No   ✔
 under 8 U.S.C. § 1325 and/or 1326?

 Venue (Per Crim. L.R. 18-1):                    SF ✔ OAK             SJ

 Is this a potential high-cost case?            Yes ✔ No

 Is any defendant charged with
                                                Yes       No ✔
 a death-penalty-eligible crime?

 Is this a RICO Act gang case?                  Yes       No ✔

 Assigned AUSA
                    Laura Vartain                         Date Submitted:   11/9/22
 (Lead Attorney):

 Comments:




                                                               RESET FORM              SAVE PDF
Form CAND-CRIM-COVER (Rev. 11/16)
